Case 6:18-cv-01069-RBD-LRH Document 201-31 Filed 03/18/21 Page 1 of 8 PagelD 4275 ~~

EDUCATION

EMPLOYMENT

Page 1

STEVEN D. SHEDLIN

Master of Education Degree in Rehabilitation Counseling

Kent State University
1981; Kent, Ohio

Bachelor of Arts Degree in Psychology
Bachelor of Arts Degree in Political Science
Kent State University
1977; Kent, Ohio

Rehabilitation Experts of Maryland, Inc.
August 1989 - Present; Rockville, Maryland
President

Resource Opportunities, Inc.
January 1985 - July 1989; Glen Burnie, Maryland
District Manager

Epilepsy Foundation of America
November 1983 - December 1984; Landover, Maryland
Assistant National Project Director of the Training and
Placement Service

NATLSCO Rehabilitation Management, Inc.
May 1982 - November 1983; Falls Church, Virginia
Rehabilitation Counselor

Joseph H. Rose and Associates
August 1981 - April 1982; Washington, D.C.
Rehabilitation Supervisor

Vocational Development Center
November 1978 - July 1981; Akron, Ohio
Job Seeking Skills Training and Job Placement Specialist

Planned Parenthood Association of Summit County
November 1977 - November 1978; Akron, Ohio

Coordinator of Men's Services

«
Case 6:18-cv-01069-RBD-LRH Document 201-31 Filed 03/18/21 Page 2 of 8 PagelD 4276

CERTIFICATIONS

ADDITIONAL
EDUCATION

ORGANIZATIONS

AWARDS

PRESENTATIONS

Page 2

Certified Rehabilitation Counselor (400002420)
1981 - Present

Certificate in Life Care Planning for Advanced Catastrophic Case

Management
University of Florida, Rehabilitation Training Institute, May 1995

International Association of Rehabilitation Professionals (TARP,
formerly National Association of Rehabilitation Professionals in
the Private Sector, NARPPS); 1986 - Present

President - 1999 - 2000, 2011 - 2013

Executive Committee - 1998 - 2001, 2010 - 2014
Board of Directors - 1996 - 2001, 2008 - 2014
Legislative Committee Chair - 1996 - 1999
Government Affairs Section Chair - 1997 - 2000
Forensic Section Board Chair- 2006 - 2007
Forensic Section Board - 2005 - 2008

IARP - Chesapeake (formerly Chesapeake Association of
Rehabilitation Professionals in the Private Sector, CARPPS);
1982 - Present

Executive Board - 1986- 1987, 1989, 1992 - 1995, 2000 - 2002
President - 1993

Vice- President - 1992

Program Committee Chair - 1987, 1992, 1994

Legislative Committee Chair - 1989

National Association of Service Providers in Private Rehabilitation
(NASPPR); 2013 - 2015
Board - 2014

Lifetime Achievement Award for Distinguished Service and
Commitment to the Rehabilitation Profession

LARP - 2015
Utilizing Vocational Experts; O'Malley, Miles & Harrell
April 1990; Landover, Maryland

Advanced Worker's Compensation; MICPEL
October 1990; College Park, Maryland
Case 6:18-cv-01069-RBD-LRH Document 201-31 Filed 03/18/21 Page 3 of 8 PagelD 4277

PRESENTATIONS Panel on Ethics; Eighth Annual Injured Workers Conference

Page 3

June 1992; Dundalk, Maryland

Vocational Expert Testimony, CARPPS Continuing Education Seminar
August 1992; Columbia, Maryland

Employability and Earning Capacity in Support Cases; Arlington
County Bar Association, Tenth Annual Family Law Seminar
January 1993; Arlington, Virginia

Panel on Ethics; Ninth Annual Injured Workers Conference
June 1993; Dundalk, Maryland

Life Care Planning, National Rehabilitation Hospital
November 1994; Washington, D.C.

Utilizing Expert Witnesses; Maryland Bar Association Annual
Conference
June 1995; Ocean City, Maryland

Utilizing Vocational Experts; Arlington County Bar Association
July 1995; Arlington, Virginia

Surviving Cross Examination: Ethical Issues in Defending a Life
Care Plan; NARPPS Annual Conference
April 1996; Bal Harbour, Florida

Alimony; MICPEL
December 1996; Baltimore, Maryland

Life Care Planning; Thirteenth Annual Injured Workers Conference
June 1997; Frederick, Maryland

Testimony Regarding HR3433, The Ticket to Work and Self-
Sufficiency Act of 1998; House Ways and Means Sub-committee
on Social Security

March 1998; Washington, D.C.

Legislation and its Impact on Rehabilitation; Pennsylvania NARPPS
Annual Conference
May 1998; Hershey, Pennsylvania

Legislation and its Impact on Rehabilitation; Virginia NARPPS
Annual Conference

May 1998; Williamsburg, Virginia
Case 6:18-cv-01069-RBD-LRH Document 201-31 Filed 03/18/21 Page 4 of 8 PagelD 4278

PRESENTATIONS National Update of Legislative Issues and Their Impact on

Page 4

Rehabilitation; Ohio NARPPS Annual Conference
January 1999; Columbus, Ohio

New Definitions of Return to Work: Needs and Opportunities in
Legislation and Practice, New Jersey NARPPS Seminar
February 1999; Kenilworth, New Jersey

Rehabilitation Programs on the Cutting Edge of the New
Millennium-Rehab Partners; National Rehabilitation
Association’s 18th Annual Governmental Affairs Seminar
March 1999; Washington, D.C.

The ABC's of Expert Testimony, Virginia NARPPS Annual
Conference
April 1999; Williamsburg, Virginia

Ethics in Private Sector Rehabilitation Practice, Carolina NARPPS
Ethics in Rehabilitation and Case Management Conference
July 1999; Wrightsville Beach, North Carolina

Ethics in Private Sector Rehabilitation Practice, Minnesota
Association of Rehabilitation Professionals Fall Conference
September 1999; Minneapolis, Minnesota

Update on Legislation Impacting Social Security Disability and
Long Term Disability Payments, Quarterly Long Term Disability
Roundtable
October 1999; Hartford, Connecticut

Update on Legislation Impacting Social Security Disability and
Long Term Disability Payments, Occupational Injury Prevention
and Rehabilitation Society Quarterly Meeting
November 1999; Bethesda, Maryland

Putting Expert Strategies to Work in Your Practice: Increasing
Your Odds for Success, NARPPS Forensic Special Interest Section
Conference
December 1999; Las Vegas, Nevada

Ethics in Private Sector Rehabilitation Practice, CARPPS Continuing
Education Seminar
February 2000; Baltimore, Maryland
Case 6:18-cv-01069-RBD-LRH Document 201-31 Filed 03/18/21 Page 5 of 8 PagelD 4279

PRESENTATIONS Social Security Legislation and its Impact on Return to Work Efforts

Page 5

and Strategy, 2000 Fortis Benefits Clinical/Rehab Services
Conference
May 2000; Kansas City, Missouri

Ethics: Role and Relationship of the Rehabilitation Professional, 2000
Fortis Benefits Clinical/Rehab Services Conference
May 2000; Kansas City, Missouri

Social Security Legislation and its Impact on Return to Work Efforts
and Strategy, NJ/PA IARP Annual Conference
May 2000; Atlantic City, New Jersey

Opportunities for Medical Case Managers Under the Work Incentives
Improvement Act of 1999, Case Management Society of America 10°
Annual Case Management Conference and Expo
June 2000; Tampa, Florida

The ABC’ of Vocational Assessment, GEICO Staff Counsel Annual
Meeting
June 2000; Chevy Chase, Maryland

Ethics in Rehabilitation Counseling; Seventeenth Annual Injured
Workers Conference
June 2001; Baltimore, Maryland

Developing Life Care Plans for Brain Damaged Babies; MDEX Online
February 2002; Internet

Introduction to Life Care Planning, Respiratory Occupational Disease
Seminar

March 2002; Catonsville, Maryland

Trying Damages: Mold Taking Over Your Life? Lifestyle
Injury/Vocational Rehabilitation, Mealey's Mold Litigation Conference
May 2002; Philadelphia, Pennsylvania

Trying Damages: Mold Taking Over Your Life? Lifestyle
Injury/Vocational Rehabilitation, Mealey's Mold Litigation Conference
October 2002; West Palm Beach, Florida

The Vocational Perspective - A Panel Discussion with Vocational

Experts, NOSSCR Social Security Disability Law Conference
April 2003; Washington, D.C.
Case 6:18-cv-01069-RBD-LRH Document 201-31 Filed 03/18/21 Page 6 of 8 PagelD 4280

PRESENTATIONS Ethics Case Study, CARPPS Fall Seminar

Page 6

October 2004; Columbia, Maryland

Strength Based Life Care Planning, [ARP Annual Forensic Conference
November 2004; San Antonio, Texas

Evaluating Minors in Lead Paint Litigation, [ARP Annual Conference
April 2005; Orlando, Florida

Vocational Expert Opinion in Employment Discrimination Cases, [ARP
Annual Forensic Conference
November 2005; Nashville, Tennessee

Pretrial and Mock Trial: Loss of Earning Capacity, [ARP Annual
Conference

May 2006; Minneapolis, Minnesota

Vocational Assessment and Life Care Planning, Medical Liability &
Public Health class, American University, Washington School of Law
November 2006; Washington D.C.

The Nuts and Bolts of Litigating Disability Discrimination Cases:
Plaintiff's and Defendants Perspective, The District of Columbia Bar
Continuing Legal Education Program

April 2007; Washington, D.C.

Effective Cross Examination Testimony, [ARP Annual Conference
April 2007; Washington, D.C.

Vocational Assessment and Life Care Planning, Medical Liability &
Public Health class, American University, Washington School of Law
October 2007; Washington D.C.

Where Vocational Experts Do It, \ARP Arizona Chapter Annual
Conference

June 2010; Scottsdale, Arizona

Vocational Assessment and Life Care Planning, Medical Liability &
Public Health class, American University, Washington School of Law
October 2010; Washington D.C.

Vocational Assessment and Life Care Planning, Medical Liability &
Public Health class, American University, Washington School of Law
October 2011; Washington D.C.
Case 6:18-cv-01069-RBD-LRH Document 201-31 Filed 03/18/21 Page 7 of 8 PagelD 4281

PRESENTATIONS Where Vocational Experts Do It, [ARP Annual Forensic Conference

Page 7

November 2011; Las Vegas, Nevada

How to Use Experts in Your Family Law Practice - Vocational
Experts, Baltimore County Bar Association Family Law Committee
January 2012; Towson, Maryland

Where Vocational Experts Do It, [ARP Louisiana Chapter Annual
Conference
March 2012; Metairie, Louisiana

Where Vocational Experts Do It, LARP Nebraska Chapter Spring
Conference

April 2012; Omaha, Nebraska

Vocational Expert’s Insight, Brilliant Exits Second Saturday Program
May 2012; Alexandria, Virginia

Collaborating with Other Counseling Associations for the Future of the
Profession, National Rehabilitation Association Annual Conference
August 2012; Chicago, Illinois

Ethical Issues in Planning Services, [ARP Ohio Chapter Action Day for
Professionals
September 2012; Columbus, Ohio

Expanding Your Rehabilitation Opportunities with Business Diversity,
IARP Washington Chapter Fall Conference
September 2012; Tacoma, Washington

Opportunities for Vocational Experts: Tips and Techniques to Expand
Your Practice, [ARP Webinar Series
September 2012; Internet

Vocational Expert’s Insight, Brilliant Exits Second Saturday Program
December 2012; Alexandria, Virginia

Utilizing Vocational Experts, Berger & Associates
March 2013; Honolulu, Hawaii

Wrongful Termination Cases, JARP Virginia Chapter Annual Conference
April 2013; Richmond, Virginia
Case 6:18-cv-01069-RBD-LRH Document 201-31 Filed 03/18/21 Page 8 of 8 PageID 4282

PRESENTATIONS Ethical Issues in Planning Services, [ARP New England Chapter Spring

Page 8

2013 Conference
April 2013; Worcester, Massachusetts

Issues, Challenges and Threats Facing Rehabilitation Professionals,
IARP Illinois Chapter 2013 Annual Seminar
September 2013; Naperville, Illinois

Ethical Issues in Planning Services, [ARP - Chesapeake Webinar Series
January 2014; Internet

Ethical Issues in Planning Services; [ARP - Montana Educational
Conference
May 2014; Helena, Montana

Life Care Planning; [ARP - Montana Educational Conference
May 2014; Helena, Montana

Ethical Issues in Planning Services; Tek It Easy with NE LARP
Conference
February 2015; Runaway Bay Jamaica, West Indies

Expanding Your Rehabilitation Opportunities with Business Diversity,
Tek It Easy with NE LARP Conference
February 2015; Runaway Bay Jamaica, West Indies

“The Family Law Trial” From Client Selection Through Closing
Arguments; Family Law Trial Evening Series
May 2015; Baltimore, Maryland

Current Tools and Success Stories in Vocational Rehabilitation; \ARP -
Oregon Educational Conference
June 2016; Portland, Oregon

Ethical Issues in Planning Services, 2016 IARP/ISLCP Annual
Conference
October 2016; Pittsburgh, Pennsylvania

The Care, Feeding and Protection of Expert Witnesses, Frederick
Family Law Symposium
January 2018; Frederick, Maryland
